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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

VS.                                                                   4:07CR00317-13 JMM

ELIAZAR ALCANTARA

                                              ORDER

       Pending before this Court is a discovery motion (Docket # 504 ) and a motion to suppress

(Docket # 503) propounded by the Defendant. The Government has responded to the motions.

       It appears that the Government, by its Response, has agreed to comply with, or exceed,

the requirements of Rule 16 of the Federal Rules of Civil Procedure, Brady v. Maryland, 373

U.S. 83 (1963), the Jencks Act, and other applicable discovery law. The Government is hereby

ordered to provide what it has agreed to in its Response. Otherwise, Defendant’s discovery

motion is DENIED. If Defendant believes that the Court has misread the Government’s position

(i.e., that the Government has not agreed to comply at least with existing discovery law) a

specific Motion for Reconsideration should be filed forthwith.

       Both parties are encouraged to exchange information, to the extent feasible, to help

insure a fair trial, and to avoid delays during trial which can be caused by relying upon the strict

requirements of discovery law.

       The Defendant has also filed a motion to suppress (Docket # 503). However, the motion

does not specifically state what evidence the Defendant intends to suppress or how the evidence

was illegally obtained. For these reasons, the motion is DENIED without prejudice to

Defendant’s right to re-file with a supporting brief.

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IT IS SO ORDERED this 29th day of April, 2009.



                                        ____________________________________
                                        UNITED STATES DISTRICT JUDGE




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